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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                          ROME DIVISION


 EARL PARRIS, JR., individually, and             )
 on behalf of a Class of persons similarly       )
 situated,                                       )
                                                 )
                   Plaintiff,                    )
                                                 )
  v.                                             )   Civil Action No. 4:21-cv-40-TWT
                                                 )
 3M COMPANY, DAIKIN                              )
 AMERICA, INC., HUNTSMAN                         )
 INTERNATIONAL, LLC, PULCRA                      )
 CHEMICALS, LLC, MOUNT                           )
 VERNON MILLS, INC., TOWN OF                     )
 TRION, GEORGIA, and RYAN                        )
 DEJUAN JARRETT,                                 )
                                                 )
                   Defendants.                   )


       PULCRA CHEMICALS, LLC’S RESPONSE TO DEFENDANT
            RYAN DEJUAN JARRETT’S CROSSCLAIMS

       Defendant Pulcra Chemicals, LLC (“Pulcra”), for its Response to Defendant

Ryan Dejuan Jarrett’s Crossclaims set forth in his (1) Answer and Crossclaim to

Plaintiff’s First Amended Complaint [ECF No. 152] and (2) Answer and Crossclaim

to Intervenor-Plaintiff City of Summerville Georgia’s Complaint in Intervention

[ECF No. 153], states and alleges that unless otherwise answered or addressed in



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this Response, each and every allegation in Defendant Jarrett’s Crossclaims is

denied.

                         RESPONSE TO CROSSCLAIMS

      Pulcra denies that Defendant Jarrett is entitled to any relief from Pulcra

whatsoever, including but not limited to contribution or indemnity for costs,

harms, damages, and litigation expenses (including but not limited to reasonable

attorney’s fees) that Defendant Jarrett has incurred or may incur in connection

with this action. By way of further response, Pulcra denies that it has caused or

contributed to any trespass or harm, including but not limited to PFAS-related

trespasses or harm, on Defendant Jarrett’s property. Pulcra denies all remaining

allegations contained in Defendant Jarrett’s Crossclaims.

                                  DEFENSES

      The following are defenses Pulcra may assert based on the facts alleged in

the Crossclaims or based on facts adduced in discovery. In disclosing these

defenses, Pulcra does not assume any burden of proof not otherwise required by

law. Moreover, Pulcra undertakes the burden of proof only as to those defenses

deemed “affirmative” defenses by law, regardless of how defenses are

denominated herein. Finally, Pulcra reserves its right to assert further defenses

that may become apparent during the course of discovery.

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                                 FIRST DEFENSE

      The claims of Defendant Jarrett, in whole or in part, fail to state a claim upon

which relief may be granted.

                                SECOND DEFENSE

      The claims of Defendant Jarrett for attorneys’ fees and costs of litigation

should be barred because Pulcra has at no time been stubbornly litigious, acted in bad

faith, or caused Defendant Jarrett undue trouble or expense.

                                 THIRD DEFENSE

      The claims of Defendant Jarrett are barred, in whole or in part, based on the

doctrines of waiver, release, and/or estoppel.

                               FOURTH DEFENSE

      Pulcra reserves any actions for contribution or indemnity against Defendant

Jarrett and reserves its right to remedies.

                                 FIFTH DEFENSE

      The failure of Defendant Jarrett to mitigate damages bars or reduces his

recovery.




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                                 SIXTH DEFENSE

      Should this Court find that Defendant Jarrett has sustained damages for which

Pulcra is responsible, which is expressly denied, Pulcra is entitled to a set-off for any

collateral source payments paid or payable to Defendant Jarrett.

                               SEVENTH DEFENSE

      The doctrine of unclean hands bars the claims of Defendant Jarrett.

                                EIGHTH DEFENSE

      Defendant Jarrett’s claims are barred, in whole or in part, because any alleged

conduct that led to his alleged injuries was lawful and/or because federal, state,

and/or local authorizes authorized, ratified, or were aware of and acquiesced in such

conduct.

                                  NINTH DEFENSE

      The claims of Defendant Jarrett are barred, in whole or in part, by the

applicable statute of limitations and/or repose.

                                 TENTH DEFENSE

      Any recovery by Defendant Jarrett may be barred or reduced by the

negligence, fault, or carelessness of others for whose conduct Pulcra is not

responsible. Any judgment rendered against Pulcra in this action, under all theories

of liability plead, should be limited to the fault, if any, attributable to Pulcra. Pulcra

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is entitled to apportion its fault, if any, to the fault of all other persons who are or

could be responsible for any of Defendant Jarrett’s damages regardless of whether

such persons are parties to this action, and regardless of whether it is ultimately

shown that any other party to this action was negligent.

                              ELEVENTH DEFENSE

      Pulcra materially complied with all applicable federal, state, and local

permitting requirements, regulations, standards, and guidelines.

                              TWELFTH DEFENSE

      The claims of Defendant Jarrett are barred in whole or in part by the

Economic Loss Doctrine.

                            THIRTEENTH DEFENSE

      The claims of Defendant Jarrett are barred by the applicable rule of repose.

                            FOURTEENTH DEFENSE

      The claims of Defendant Jarrett are barred by assumption of risk.

                              FIFTEENTH DEFENSE

      Defendant Jarrett’s claims are barred in whole or in part to the extent they

seek to impose liability based on retroactive application of laws, regulations,

standards, or guidelines.




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                            SIXTEENTH DEFENSE

      The claims of Defendant Jarrett are barred because Pulcra owed no legal duty

to Defendant Jarrett.

                          SEVENTEENTH DEFENSE

      The claims of Defendant Jarrett are barred, in whole or in part, based on a lack

of causation. Pulcra did not cause the alleged injury described by Defendant Jarrett

in his Crossclaims. The alleged damages, if any, were caused solely by the actions,

omissions, or conduct of persons and/or entities for whom or which Pulcra is not

responsible and/or were caused by acts, omissions, conduct, and/or factors beyond

the control of Pulcra.

                           EIGHTEENTH DEFENSE

      The claims of Defendant Jarrett are barred to the extent there is no proximate

cause between any alleged act or omission on the part of Pulcra and any injury or

damage allegedly suffered by Defendant Jarrett.

                            NINETEENTH DEFENSE

      Defendant Jarrett’s claims are barred, in whole or in part, by the doctrine of

comparative fault, and to the extent that he or any other defendant has settled or may

in the future settle with Plaintiff, Intervenor Plaintiff, or members of the purported




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class, Pulcra asserts its entitlement to an appropriate credit, setoff, or reduction of

any judgment against it.

                             TWENTIETH DEFENSE

      The claims of Defendant Jarrett are barred to the extent they are caused by the

acts or omissions of a third party.

                           TWENTY-FIRST DEFENSE

      The claims of Defendant Jarrett are barred in whole or in part because Pulcra’s

conduct was in accordance with the applicable standards of care under all laws,

regulations, industry practice, and state-of-the-art knowledge, and the activities of

Pulcra in accordance with such standards were reasonable as a matter of law. Pulcra

at all times acted reasonably, in good faith, and with the skill, prudence, and

diligence of others in the industry at the time.

                           TWENTY-SECOND DEFENSE

      Defendant Jarrett failed to join one or more indispensable parties.

                           TWENTY-THIRD DEFENSE

      Defendant Jarrett’s claims are barred in whole or in part because the harm is

divisible and attributable to others.




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                          TWENTY-FOURTH DEFENSE

      One or more independent, intervening, and superseding events or other

negligence prevents any recovery by Defendant Jarrett against Pulcra.

                          TWENTY-FIFTH DEFENSE

      The damages sought by Defendant Jarrett are too speculative, remote, and not

reasonably foreseeable.

                           TWENTY-SIXTH DEFENSE

      To the extent Defendant Jarrett has availed and/or failed to avail himself of

funds from unnamed third parties, including, without limitation, insurance

companies and unnamed potentially responsible parties, Pulcra is entitled to a set off

including interest.

                          TWENTY-SEVENTH DEFENSE

      The claims of Defendant Jarrett against Pulcra are barred in whole or in part

by the doctrine of accord and satisfaction.

                          TWENTY-EIGHTH DEFENSE

      The claims of Defendant Jarrett are barred, in whole or in part, by the doctrine

of laches.




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                          TWENTY-NINTH DEFENSE

      The claims of Defendant Jarrett are barred, in whole or in part, by the doctrine

of res judicata.

                             THIRTIETH DEFENSE

      The claims of Defendant Jarrett are barred, in whole or in part, by the prior

nuisance doctrine and the prior trespass doctrine.

                           THIRTY-FIRST DEFENSE

      Pulcra did not owe or breach any duty to Defendant Jarrett.

                          THIRTY-SECOND DEFENSE

      Defendant Jarrett’s recovery, if any, should be barred or reduced in proportion

to Jarrett’s own negligence, assumption of the risk, acquiescence, or misuse.

                          THIRTY-THIRD DEFENSE

      Defendant Jarrett’s claims are barred, in whole or in part, by contributory

negligence.

                          THIRTY-FOURTH DEFENSE

      Pulcra denies that its conduct was in any manner negligent or wanton.

                           THIRTY-FIFTH DEFENSE

      Defendant Jarrett’s claims are barred, in whole or in part, by the doctrines of

consent and/or release.

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                            THIRTY-SIXTH DEFENSE

         Pulcra adopts by reference all affirmative defenses heretofore and hereafter

pleaded by the other parties as may be applicable to the facts alleged against Pulcra

and does not waive or relinquish any other available affirmative defenses. Pulcra

expressly reserves the right to raise such additional affirmative defenses as may be

established or become appropriate through discovery, further investigation, or

further events with respect to the subject matter of this action, through the date of

trial.

         WHEREFORE, Pulcra respectfully requests that the Court dismiss Defendant

Jarrett’s Crossclaims, award the costs of expenses of litigation to it, and grant such

other relief to it as the Court deems equitable and just under the circumstances.




                                Signatures begin on next page




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Respectfully submitted this 12th day of May, 2022.


                                 /s/ Robert D. Mowrey
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                         CERTIFICATE OF SERVICE

      I hereby certify that I have this 12th day of May, 2022, electronically filed the

foregoing PULCRA CHEMICALS, LLC’S RESPONSE TO DEFENDANT

RYAN DEJUAN JARRETT’S CROSSCLAIMS using the CM/ECF system

which will automatically send email notification of such filing to all registered

CM/ECF users.



                                       /s/ E. Peyton Nunez
                                        E. Peyton Nunez
